               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE



UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 2:08-CR-016
                                                  )
GARY MOORE                                        )


                            MEMORANDUM AND ORDER


              This criminal case is before the court on the parties’ joint motion for a

continuance of the May 4, 2011 trial date [doc. 204]. Therein, the defendant argues that his

counsel needs additional time to prepare for trial in light of the voluminous discovery and

the severity of the charges. Counsel for both parties also advise the court that they are

scheduled to be in another trial on the date this matter is currently scheduled.

              The court finds the motion well taken, and it will be granted. The court finds

that the ends of justice served by granting the motion outweigh the best interests of the

public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). In light of the

reasoning set forth by the parties, the court finds that the failure to grant the motion would

deny defense counsel the reasonable time necessary for effective trial preparation and would

unreasonably deny continuity of counsel for both parties. 18 U.S.C. § 3161(h)(7)(B)(iv).

The motion requires a delay in the proceedings. Therefore, all the time from the filing of the




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motion to the new trial date is excludable as provided by the Speedy Trial Act. 18 U.S.C.

§ 3161(h)(7)(A).

              It is hereby ORDERED that the joint motion [doc. 204] is GRANTED, and

this criminal case is CONTINUED to Tuesday, June 21, 2011, at 9:00 a.m. The new plea

cutoff and motion filing date is June 7, 2011.



                                                 ENTER:



                                                       s/ Leon Jordan
                                                 United States District Judge




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